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rN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSEE /.?
EASTERN DIVISroN

uNlTED STATES or AMERICA

vs CR No. 1:04-10071-01-T

BILLY GAIL BrRMrNGHAM

oRDER oN CHANGE oF PLEA

 

This cause came on to be heard on July 6, 2005, Assistant U. S. Attorney,
Jerry Kitehen, appearing for the government, and the defendant appeared in person
and With eounsel, Joe H. Byrd, Who Was retained.

With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Count 1 of the lndictment.

ThiS ease has been Set for Sentenoing on Tuesdav , October 4. 2005. at 8:45

The defendant is remanded to the custody of the United States Marshal.

<}§/VMBM

ES D. TODD
TED STATES DISTRICT JUDGE

DATE:j Q/f,£l/V M('
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lT IS SO ORDERED.

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DISTRIC COURT - WESTERN D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
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Jerry R. Kitchen

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Honorable J ames Todd
US DISTRICT COURT

